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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


 In re FTCA Flint Water Cases                       Civil No. 4:17-cv-11218
                                                    (Consolidated)

                                                    Linda V. Parker
 __________________________/                        United States District Judge

 This Order Relates to:

 ALL CASES




                      STIPULATED SPECIAL MASTER ORDER



       Pursuant to CMO 3 [ECF No. 111, 03/02/2020], the parties met and

 conferred regarding who should be appointed as Special Master—and for what

 duties—under Rule 53. This Stipulated Special Master Order reflects the

 agreement to date between the parties with respect to the appointment of a Special

 Master for the In re FTCA Flint Water Cases.

       A. Special Master

       1.    The parties agree that it would be appropriate for the Court to appoint

 Deborah E. Greenspan, who is currently serving as Special Master in the In re


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 Flint Water Cases pending before Judge Levy, to serve as Special Master in the In

 re FTCA Flint Water Cases. The parties also agree that the scope of the Special

 Master’s duties for the In re FTCA Flint Water Cases should be limited to the

 duties specified in this Court’s CMO 3, Section III, “Bellwether Proceedings.” If

 the parties or the Court become interested in appointing the Special Master to

 perform duties beyond those specified and contemplated by CMO 3 in the future,

 then a separate or supplemental order will be issued to address any additional or

 supplemental duties to be performed by the Special Master.

       B. Scope

       2.     This order applies to all In re FTCA Flint Water Cases currently

 pending before this Court, pursuant to CMO 2 [ECF No. 91, 12/18/2019], and to

 all related FTCA actions that have been or will be originally filed in, transferred to,

 or removed and assigned to this Court. This order is binding on all parties and their

 counsel in all cases currently pending or subsequently made part of these

 proceedings and will govern each case in the proceedings.

       3.     The Court intends to appoint a Special Master to perform the duties

 specified in several provisions in CMO 3 to facilitate bellwether proceedings with

 FTCA plaintiffs. Specifically, as specified in CMO 3, the Special Master will assist

 with the creation of:



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         a. 7 claim categories [CMO 3, ¶III(A)],

         b. Census for the FTCA plaintiffs [CMO 3, ¶III(B)],

         c. Categorizing Claims [CMO 3, ¶III(C)],

         d. FTCA Disclosure Group [CMO 3, ¶III(D)], and

         e. FTCA Discovery Group [CMO 3, ¶III(E)].

       C. Basis for Appointment

       4.     Rule 53(a)(1)(C) addresses pretrial matters that cannot be addressed

 effectively and timely by an available district judge or magistrate judge of the

 district. The bellwether structuring and data management duties, specified above

 in Paragraphs (B)(3)(a)-(c), are particularly time consuming and the proposed

 Special Master Deborah Greenspan previously obtained significant experience

 in managing a related data set for the Flint Water Cases pending before Judge

 Judith Levy. Special Master Greenspan is positioned to efficiently assist this

 Court with implementing the bellwether disclosure and discovery process

 specified in CMO 3.

       D. Potential Disqualification

       5.     Upon appointment, the Court will request that Special Master

 Greenspan, Pursuant to Rule 53(a)(2) and 53(b)(3), submit a declaration to the

 Court to confirm that she has no relationship to the parties, counsel in this In re


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 FTCA Flint Water Cases litigation, or Court that would require disqualification of

 a judge under 28 U.S.C. § 455. During the course of these proceedings, the Special

 Master and the parties will notify the Court immediately if they become aware of

 any potential grounds that would require disqualification.

        E. Fairness Considerations

        6.    Pursuant to Rule 53(a)(3), the Court has considered the fairness of

 imposing the likely expenses of the Special Master on the parties. The Court

 believes that the appointment and use of the Special Master will materially

 advance the litigation, thereby achieving considerable cost-saving to all parties.

 The Court will protect against unreasonable expenses and delay through regular

 communication with the Special Master and counsel.

        F. Confidentiality

        7.    The Special Master is authorized to receive and consider information

 that may be designated as confidential pursuant to any protective order entered in

 this matter. The Special Master will be bound by any protective orders entered in

 this case.

        G. Proper Notice Given to All Parties

        8.    Pursuant to Rule 53(b)(1) and the Court’s March 2, 2020 order, the

 Court gave all parties to these proceedings notice of its intent to appoint the

 Special Master and an opportunity to be heard with respect to such an


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 appointment before issuing this order. The Court has reviewed the filing and

 determined that no objection has been presented that would prevent the

 appointment of a Special Master in this case.

        H.     Special Master’s Compensation

        9.     Pursuant to Rule 53(g), the Special Master will be compensated at the

 hourly rate of $600 for her services as Special Master in these cases, which is the

 same hourly rate approved for her work before Judge Levy in the In re Flint Water

 Cases in ECF No. 524 (07/05/2018), or a different hourly rate if her rate is adjusted

 in subsequent orders, and will be reimbursed for any out-of-pocket expenses (e.g.,

 costs of clerical or other necessary personnel). The Special Master may be

 reimbursed for travel expenses, but will not charge for travel time. The Special

 Master will prepare a monthly invoice for her services, which she will provide to

 FTCA Plaintiffs’ Liaison Counsel, once appointed, and counsel for the United

 States.

        10.    The Special Master is authorized to retain clerical assistants or

 other necessary personnel within her firm, used at an appropriate hourly rate, to assist her

 with the preparation of any report concerning the bellwether process specified in

 CMO 3 for the FTCA Flint Water Cases.

        11.    Counsel for the FTCA Plaintiffs and the United States each will pay

 one-half of all hourly rates, expenses, and costs, that are attributable solely to work
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 by the Special Master performed for the In re FTCA Flint Water Cases as specified

 in this Special Master Order.

       I. Ex Parte Communications

       12.    Pursuant to Rule 53(b)(2)(B), the Special Master may communicate ex

 parte with the Court at any time. Generally, in order to facilitate the fair and

 effective performance of her duties for the bellwether items specified above and

 in CMO 3, the Special Master may communicate ex parte with counsel.

       J. Preservation of Materials and Preparation of Record.

       13.    Pursuant to Rule 53(b)(2)(C), the Special Master will maintain files

 consisting of all documents submitted to her by the parties and of any of her

 compilations and work-products, as specified, above, in CMO 3.

       K. Contact Information

       14.    The Special Master’s contact information is:

 Deborah E. Greenspan, Blank Rome LLP
 1825 Eye Street NW, Washington, D.C. 20006
 Phone: (202) 420-3100

       IT IS SO ORDERED.

                                               s/ Linda V. Parker
                                               LINDA V. PARKER
                                               U.S. DISTRICT JUDGE


  Dated: March 25, 2020

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 Dated: March 12, 2020                    Respectfully,

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